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                           UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF IDAHO


JOSEPH G. DAINES and SUSAN G.               )    Case No.: 1:18-cv-00170
DAINES, a married couple,                   )
                                            )    MEMORANDUM IN SUPPORT OF
                     Plaintiffs,            )    DEFENDANTS’ MOTION TO SEAL
                                            )
vs.                                         )
                                            )
MARK MATSKO, an individual, and             )
SELWAY ASSET MANAGEMENT, INC.,              )
an Idaho corporation,                       )
                                            )
                     Defendants.            )
                                            )


                                         INTRODUCTION

       Defendants Mark Matsko and Selway Asset Management, Inc. have moved for an order

from the Court, pursuant to Federal Rule of Civil Procedure 5.2 and Local Civil Rule 5.3,

permitting the Defendants to file under seal the (i) Memorandum in Support of Motion to

Dismiss or Stay Pending Arbitration and (ii) Declaration of Mark Matsko in Support of Motion

to Dismiss or Stay Pending Arbitration



MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION TO SEAL - 1
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                                              ARGUMENT

       Defendants request that the foregoing documents be sealed because they are, quote, or

refer to documents and information that (i) have been designated “Confidential” and (ii) are

subject to a confidentiality provision that prevents disclosure unless it is required by a court,

arbitrator, other tribunal or governmental agency. Certain of the documents that are attached and

discussed are expressly marked “Confidential” because, in part, they are comprised largely of

private information that already requires redaction in accordance with Federal Rule of Civil

Procedure 5.2 and Local Rule 5.5(a), including certain financial information of the Plaintiffs.

Such documents, as well as the remaining business documents, describe and set forth proprietary

and confidential business matters subject to the foregoing contractual confidentiality provision.

       There is a “strong presumption” in favor of access to judicial proceedings. Kamakana v.

City & County of Honolulu, 447 F.3d 1172, 1178-80 (9th Cir. 2006). A party seeking to seal

materials must show “compelling reasons” that outweigh the “public interest in understanding

the public process.” Id. That said, “[c]ourts commonly seal business or financial information

that is otherwise kept confidential, where such documents could be used to a company’s

competitive disadvantage.” Kamdem-Ouaffo v. Idahoan Foods, LLC, 243 F.Supp.3d 1130, 1146

(D. Idaho 2017). The disclosure of proprietary business information in this case risks harming

Defednants’ and third parties’ competitive interests in their field, as the proprietary documents

themselves, and the requirements for confidentiality therein, reflect.

       Perhaps more importantly, each of Plaintiffs and Defendants are subject to a written

agreement to privately arbitrate the dispute in the above-captioned lawsuit. There is a policy,

reflected in the Federal Arbitration Act, favoring the enforcement of written arbitration

agreements. Rent-A-Center, West, Inc. v. Jackson, 561 U.S. 63, 67 (2010). The Motion to


MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION TO SEAL - 2
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Dismiss     or    Stay    Pending      Arbitration     and     supporting   memorandum,     submitted

contemporaneously herewith, discuss the applicability of that policy to this case. At least until

such time as the Court has ruled on whether it has jurisdiction to hear all or any part of the

dispute, the Court should maintain the confidentiality of business records and information that

are identified as confidential by sealing the requested records.

        Stated another way, Defendants contend that Plaintiffs were required to submit their

claims to arbitration, rather than filing the instant lawsuit. If Plaintiffs had done so, public access

to documents filed in the federal court system would not be a question or issue for resolution,

and a showing of “compelling reasons” would be wholly unnecessary, because the arbitration of

Plaintiffs’ claims would involve the private resolution of the dispute before an arbitrator or panel

of arbitrators, as the parties agreed to and acknowledged in writing. Therefore, at a minimum,

the Court should preserve the confidential status quo until it resolves whether, and to what extent

if at all, the Plaintiffs’ claims are the proper subject of an arbitration. Here, the public right of

access that is the touchstone relating to the sealing of confidential or private documents should

not trump federal policy relating to arbitration.

                                                 CONCLUSION

        For the foregoing reasons, Defendants respectfully request that the Court order that the

following documents be sealed: (i) Memorandum in Support of Motion to Dismiss or Stay

Pending Arbitration; and (ii) Declaration of Mark Matsko in Support of Motion to Dismiss or

Stay Pending Arbitration. In the alternative, Defendants respectfully request that the Court order

that such documents be, and remain, sealed until such time as the Court rules that it has

jurisdiction to entertain the Plaintiffs’ claims, if at all.




MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION TO SEAL - 3
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       RESPECTFULLY SUBMITTED this 10th day of May 2018.

                                          SPINK BUTLER, LLP



                                          By:      /s/ Tara Martens Miller
                                                Tara Martens Miller
                                                Matthew J. McGee
                                                Attorneys for Defendants


                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 10th day of May 2018, I caused a true and correct copy
of the above to be served upon the following individuals in the manner indicated below:

Patrick C. Bageant                              [X]   U.S. Mail
Hollystone Law                                  [ ]   Hand-Delivery
1775 West State Street, No. 286                 [ ]   Federal Express
Boise, ID 83702                                 [ ]   Via Facsimile
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                                                          /s/ Tara Martens Miller
                                                   Tara Martens Miller
                                                   Matthew J. McGee
                                                   Attorneys for Defendants




MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION TO SEAL - 4
